                       UNITED STATES DISTRICT COURT
                    WESTERN DISTRICT OF NORTH CAROLINA
                            CHARLOTTE DIVISION
                             3:08CR252-10-FDW

UNITED STATES OF AMERICA            )
                                    )
v.                                  )
                                    )                       ORDER
RICHARD ALBINO,                     )
                  Defendant.        )
____________________________________)


       THE MATTER before the Court is Defendant’s Motion for Permission to Seek

Employment (Doc. No. 151) filed December 2, 2009. For the reasons stated in the

Defendant’s motion, the Court finds that the motion should be granted, and that the

Government supports the motion.

       IT IS THEREFORE ORDERED that the U.S. Probation Office in Columbia,

South Carolina, is to allow the Defendant to seek employment as a car salesman,

provided that the Defendant is not involved in any financing aspect of any transaction.

       IT IS SO ORDERED.

                                         Signed: December 21, 2009




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